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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,
                                                    Case No. 4:10-CR-073-BLW
                     Plaintiff,
                                                    ORDER
        v.

 JOB SOLIS-BENITO,

                     Defendant.



       The Court has before it the Government’s Motion to Dismiss (Dkt. 173). Good

cause appearing, the Court will grant the motion.

                                        ORDER

       IT IS ORDERED:

       1.    The Government’s Motion to Dismiss (Dkt. 173) is GRANTED. This case

             is dismissed with respect to Defendant Job Solis-Benito without prejudice.




                                         DATED: March 25, 2011




                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge




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